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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


ALIGN TECHNOLOGY, INC.,

             Plaintiff,

      V.
                                                         C.A. No. 17-1646-LPS-CJB
3SHAPE A/S and 3SHAPE INC.,

             Defendants.


ALIGN TECHNOLOGY, INC. ,

             Plaintiff,

      V.
                                                         C.A. No. 17-1647-LPS-CJB
3SHAPE A/Sand 3SHAPE INC.,

             Defendants.


                                          ORDER

     At Wilmington, this 7 th day of September, 2018 :

     For the reasons set forth in the Memorandum Opinion issued this date, IT IS HEREBY

ORDERED that:

     1.     Defendants' motion to dismiss in C.A. No. 17-1646-LPS-CJB (D.I. 21) is:

            (a)     DENIED to the extent that it seeks dismissal of the Complaint for failing

                    to plausibly allege direct, indirect, and willful infringement of any of the

                    asserted patents under Rule 12(b)(6);

            (b)     GRANTED to the extent that it seeks dismissal of claims asserting

                    infringement of U.S . Patent No. 7,112,065 under 35 U.S.C. § 101 ; and
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                (c)    DENIED to the extent that it seeks dismissal of claims asserting

                       infringement of U.S. Patent No. 9,451 ,873 under 35 U.S.C. § 101.

       2.       Defendants' motion to dismiss in C.A. No. 17-1647-LPS-CJB (D.I. 21) is:

                (a)    DENIED to the extent that it seeks dismissal of the Complaint for failing

                       to plausibly allege direct, indirect, and willful infringement of any of the

                       asserted patents under Rule 12(b)(6);

                (b)    GRANTED to the extent that it seeks dismissal of claims asserting

                       infringement of U.S. Patent No. 6,227,850 under 35 U.S.C. § 101 ; and

                (c)    DENIED to the extent that it seeks dismissal of claims asserting

                       infringement of U.S. Patent No. 8,734,149 under 35 U.S.C. § 101.

        3.      The parties shall meet and confer and, no later than September 14, 2018, submit a

joint status report.



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                                                      UNITED STATES DISTRICT JUDGE
